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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                          v.

 BRIAN KOLFAGE,                                              No. 20 Cr. 412 (AT)
 STEPHEN BANNON,
 ANDREW BADOLATO, and
 TIMOTHY SHEA

                Defendants



       DECLARATION OF WILLIAM A. BURCK IN SUPPORT OF MOTION TO
                       WITHDRAW AS COUNSEL

       I, William A. Burck, declare pursuant to 28 U.S.C. § 1746 as follows:

       1.      I am a partner of the law firm of Quinn Emanuel Urquhart & Sullivan, LLP and a

member in good standing of the bar of the State of New York and this Court. I respectfully submit

this declaration pursuant to Local Criminal Rule 1.1(b) and Local Civil Rule 1.4 in support of the

accompanying motion to withdraw as counsel of record for Defendant Stephen Bannon.

       2.      Mr. Bannon and Quinn Emanuel have mutually and amicably agreed that

alternative counsel would be better suited to his defense strategy. Accordingly, Mr. Bannon is in

the process of retaining new counsel in this matter and has consented to the substitution of counsel.

He has represented that he anticipates retaining new counsel prior to the status conference

scheduled in this matter for December 2, 2020.

       3.      Quinn Emanuel also has consented to substitution and is not asserting a retaining

or charging lien.




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       4.      The Indictment in this case was unsealed on August 20, 2020. The next status

conference before the Court is set for December 2 at 3:00 PM. Trial currently is scheduled to

begin in May 2021.

       5.      Because trial in this case is still many months away, the requested substitution of

counsel and withdrawal of Quinn Emanuel will not unnecessarily delay this action. As a result,

we respectfully request that the Court grant the motion to substitute and motion to withdraw.

       I declare under penalty of perjury that the foregoing is true and correct.

 Dated: November 25, 2020                        /s/ William A. Burck
                                                 William A. Burck




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